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Date: 2.9.2022

To: Board of Education

From: Dr. Keri Skeeters

Re: Challenged Material - Gabi, A Girl in Pieces, Isabel Quintero

The committee reviewed and voted to retain Gabi, A Girl in Pieces, Isabel Quintero. Feedback
from the committee members is attached.

We ask the board to approve the recommendation of the committee to retain Gabi, A Girl in
Pieces.




                 Wentzville School District – Teaching & Learning Department
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                         Challenged Material Information

Type of Material: Library Book

Title: Gabi, A Girl in Pieces

Author: Isabel Quintero

Person Challenging: Renee Henke

Description of objectionable aspects of the material:
None Listed

Rationale for objection:
Foul Language, Rape

                                 Committee Decision

Committee Decision: Retain

Committee Vote (anonymous ballot):
In-person votes:
6 Retain

Votes submitted virtually:
2 Retain
1 Retain with Restriction

                                      Definitions
Retained: No change

Retained with Restriction: Parents can request a restriction be placed in their
student’s Destiny account for the work. This is already available to all parents in the
district.

Not Retained: Book removed. No access for any students.




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                        Committee Rationale/Comments

Retain with NO change:
The majority opinion of the committee is to retain the book with no change. The
committee was asked to consider the question: What is the appropriateness of the
work for its intended educational purpose? Based on the fact that the book is a part
of the library, committee members believe that removing the work would infringe on the
rights of parents and students to decide for themselves if they want to read this work of
literature.

   ● This book is not required reading for any student and they have a choice to
     check it out of the library. It is a very mild approach to how a young person has to
     deal with many aspects of life during their senior year of high school: friend that
     is pregnant, self worth, social acceptance, race, friend that told his parents he is
     gay, sexual awareness. There is no graphical representation of sex or drugs
     while addressing many of the issues our students face on a daily basis.

   ● This is well-written and age appropriate for high school students. I applaud this
     author for being able to address many teen social issues in such an appropriate
     way while sending a message of strength to young women.

   ● This is a book about a girl - whether it's personal or a family member or a friend -
     dealing in some way with drug abuse, teen pregnancy, racism, body issues, and
     eating disorders to name a few. Our students are faced with many of the same
     issues, and the author, Isabel Quintero - has created a character that our
     students can relate to. Quintero's book is NOT explicit. The book IS thought
     provoking and relevant to our teen readers.

   ● This book was age appropriate, no sexually explicit details. Foul Language was
     age appropriate and descriptions of a feeling, not a physical act. Shared the
     comparison that a friend would have for those she truly cared about. Was
     learning about her own life with emotions that were constructive to her emotional
     and social growth. She eventually found the way to mature and grow up with
     pride and dignity through her humor and her poetry.

   ● This is a wonderful example of a coming of age story about a Mexican girl who is
     dealing not only with personal issues, but issues of her family and friends.
     Students reading this book may see themselves in some of the issues she deals
     with. Gabi is a normal girl dealing with the natural issues of life. Even the
     illustrations in the book are helpful for the reader to understand that she is not
     alone in some of her concerns. As a mother and teacher, I believe that this book
     should definitely remain.




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  ● This book represents situations and experiences that many high school students
    face on a daily basis. I think this book is a necessary resource for students to be
    able to access freely in all our libraries. To remove this would essentially be
    minimizing who they are and what they have experienced. School libraries must
    represent the populations that they serve, adn this book respectfully handles a
    myriad of situations and characters from diverse backgrounds. Backgrounds that
    many students in our schools can identify with. Regarding the reasons for this
    book being challenged, the fact that it mentions date rape is definetly an issue
    that students/teens can identify with and should be exposed to; it happens to
    morekids than we realize and they need to feel like they are understood. THe
    language in the book was a realistic portrayal of how many teenagers talk and
    waste an unnecessary or offensive addition to the story.

  ● I believe this book should be retained because it provides an important window
    into the coming of age story of a girl that is relatable to just about anyone. The
    book sends a positive message about body positivity, self love and empathy for
    your fellow man. I believe that foul language was relevant to the context of the
    story and age appropriate as well. I also believe the book’s perspective on rape
    and a takedown of the “boys will be boys” mentaility was especially impactful. I
    would recommend this book as a must read for boys and girls alike; to remove
    this title from our libraries would be a disservice to all students in the district.

  ● This book provides immense educational value to the students of the Wentzville
    School District by addressing difficult, complex, and challenging issues faced by
    teenagers today. The author addresses these topics with authenticity,
    compassion and care, enabling the reader to develop empathy with the
    characters. This book has many themes including discussion of body image,
    fitting in, relationships, addiction, and gender norms which are discussed in
    accessible ways to teenagers, allowing them to see the complexities and
    understand how to face them positively and healthily. This is a great book to
    show teenagers they are not alone, that others are facing similar challenges and
    it would be an excellent book to discuss with a parent or teacher.

  ● This book appropriately, eloquently and completely addresses the many issues
    facing our young people in today’s world. The voice of Gabi, and her empathy
    and growth during the book, make this a valuable book for teens experiencing
    similar challenges of body image, family conflict, gender identity, school success,
    bullying, date rage, mental health challenges, and conflict resolution. The poetry
    as a vehicle of problem solving, personal journaling is very relatable to our teens.




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      The language is very accurate and appropriate to the content of the book. Our
      students deserve to have this Mexican American teen’s experiences.


Retain with Restriction:
   ● “Due to so many mature topics I do feel this should be a book parents should
      be able to restrict for their children.”




                                                                     Exhibit 15
